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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

xX

 

LETICIA LEE,

Plaintiff, (

VS.

<SINTES DESTRIAS

APR 04

Case # 6:23-cv-06025-FPG-MWP

Defendants Removed
Index No.: 134539-2022
From Supreme Court
Ontario County
Canandaigua, NY

Notice of Opposition
of Motion to Dismiss
& Default Judgment

WARNER MEDIA LLC (HBO HOME ENTERTAINMENT, INC.; WARNER BROS. WORLDWIDE
TELEVISION DISTRIBUTION, INC.); NBC UNIVERSAL TELEVISION STUDIO DIGITAL
DEVELOPMENT LLC; CBS BROADCASTING INC.; GRAMMNET NH PRODUCTIONS

Defendants,

 

Xx

WHEREBY Pro Se Plaintiff, a writer and living woman and not and attorney, first notified
Defendants June 2021 with claims, proof of copyright, treatment, and character list. (Ex. G)

Plaintiff then borrowed funds from friends to file Index #2021-3189 in Monroe County and
improperly served Defendants August 2021 and December2021 via certified mail. (Ex. H)

Plaintiff restarted w/ new Index #134539-2022 in Ontario County and received approval for Poor
Person Application November 16, 2022. AND served Defendants using high interest credit card.

Defendants served Amended Summons and Complaint AND Affidavit of Service was filed at
Ontario County Clerk’s Office on January 11, 2023, with Proof of Service. (Ex. M)

Plaintiff received random call with area code (202), blocked number, and no text messages were
received by Plaintiff. AND Defendants defaulted, requested and then retracted extension to
February 2, 2023, (defaulted again per (Fed. R. Civ. P. 55(b)(2) and moved case to federal court.

Plaintiff rejects Motion to Dismiss as Defendants notified of claims multiple times and defaulted.

May the Court review this case based on submissions at date and time the Court deems best and GRANT
in favor of Plaintiff. Plaintiff also submitted Summary Judgment if this motion not approved. Thank you.

 

Dated & Signed, [ror
Notary Public

Respectfully Submi

 
  

LeTicia Lee
Pro Se Plaintiff “
1335 Jefferson Road #20711

Rochester, New York 14602 USA

All those gathered here will know that it is not by sword or spear that Os ne paves: ; for the battle is the LORD’s, and he will give all of vou into

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our hands. 1 Samuel 17:47

Notary Put!
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
---- X Case # 6:23-cv-06025-FPG-MWP

 

LETICIA LEE,
Index No.: 134539-2022
Removed by Defendants
Supreme Court Ontario County
Canandaigua, New York

CROSS MOTION
Plaintiff, Summary JUDGMENT

VS.
WARNER MEDIA LLC (HBO HOME ENTERTAINMENT, INC.; WARNER BROS. WORLDWIDE

TELEVISION DISTRIBUTION, INC.); NBC UNIVERSAL TELEVISION STUDIO DIGITAL
DEVELOPMENT LLC; CBS BROADCASTING INC.; GRAMMNET NH PRODUCTIONS

Defendants,
--- X

 

WHEREBY, I Pro Se Plaintiff (a writer and not an attorney), notified Defendants in June 2021, August
2021, and December 2021 with detailed claims with intention to file suit AND did file an Amended
Summons and Complaint in Supreme Court Ontario County Canandaigua, NY on November 16, 2022.
(Ex. G,H,K,M) AND filed Affidavit of Service at Ontario County Clerk’s Office on January 11, 2023.

Attached AFFIDAVIT details how Defendants knowingly and continuously induced copyright
infringements that took Plaintiff over 30 years to untangle AND points out strikingly similar characters,
references, use of title, and plot lines from property, GIRLFRIENDS © 1991 to develop and distribute
LIVING SINGLE, FRIENDS, GIRLFRIENDS, SEX and the CITY, and GIRLS and attempted to deceive
Plaintiff and General Public by using GIRLFRIENDS © 1991 to generate billions of dollars leaving
Plaintiff distressed, broke and homeless. Plaintiff requests the Court to apply the Inverse Ratio Rule.

Please take notice that based upon the AFFIDAVIT of Pro Se Plaintiff, LeTicia Lee, filed herein together
with EXHIBITS referenced and Plaintiff's’ Memorandum of Law therein, may the Court rule in favor
of Plaintiff GRANTING Summary Judgment.

May the Court review this matter based on submissions only (no appearance required) as the Court
deems best. Furthermore, please take notice that Plaintiff intends to serve reply papers. Thank you.

Dated & Signed, Y| 4 | Ov © “oy, Submitted by,

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Pro Se Plaintiff
Notary Public 1335 Jefferson Road #20711
Rochester, New York 14602 USA

 

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Notary P 3 f New York

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK.
xX Case # 6:23-cv-06025-FPG-MWP

 

LETICIA LEE,

Index No.: 134539-2022
Removed by Defendant
from Supreme Court
Ontario County, New York

Plaintiff, AFFIDAVIT
VS. for SUMMARY JUDGMENT

WARNER MEDIA LLC (HBO HOME ENTERTAINMENT, INC.; WARNER BROS. WORLDWIDE
TELEVISION DISTRIBUTION, INC.); NBC UNIVERSAL TELEVISION STUDIO DIGITAL
DEVELOPMENT LLC; CBS BROADCASTING INC.; GRAMMNET NH PRODUCTIONS

Defendants,

 

X

WHEREBY, I Pro Se Plaintiff (a writer, a living woman, a daughter, friend, and person of great faith,
and NOT an attorney), watched many sitcoms in syndication during the corona-virus lockdown in 2020
and noticed certain overlapping “familiarities in content” and started to question if it was my Work.

AND contacted my former writing partner Tracey Moore-Marable for the first time in over twenty years
during the corona-virus pandemic in late 2020 - 2021 to ask if TV show similarities I observed to be true.

AND Tracey and I connected the dots of how our Treatment and Pilot Script for an Original Sitcom
series, GIRLFRIENDS © 1991 (“Work”) about a group of Generation X girlfriends struggling to balance
life, career, dating/relationships in a major urban city went from our naive twenty-something hands to
FRASIER actor, Alan “Kelsey Grammer’s” GIRLFRIENDS sitcom 2000-2008 whom we had never met.

In 2020, I opened my spider web covered storage boxes of scripts, Registered Copyrights, and Writers
Guild Registrations (all of which were completely ignored by Defendants) for the first time since sealing
them closed at the end of 1991 when after several Hollywood pitch meetings, no one called to respond to
an Original Sitcom Series entitled GIRLFRIENDS © 1991 (see Amended Summons and Complaint).

AND entertainment attorneys refused to assist me Pro Bono stating this case posed a conflict of interest.

In 2021, with God’s help and borrowed funds, I filed as a Pro Se Plaintiff to recover my property, my life,
dignity, and to pave the way for future women and people of color to profit from their own works.

Defendants are like Goliath, and I am like David coming against them in the name of the LORD.

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WHEREAS the sitcoms in question; LIVING SINGLE (1993-1998), FRIENDS (1994-2004), SEX and
the CITY (1998-2004), GIRLFRIENDS (2000-2008) and most recently GIRLS (2012-2017) on HBO
show striking similarities to Plaintiff's pitch GIRLFRIENDS © 1991 to Defendants in 1991.

In 1991, Warren Hutcherson (neighbor), Karen Handel (HBO) and Shelly Raskov (WARNER) received
GIRLFRIENDS © 1991 Treatment and Character list (included 1 pg. Six Characters mostly living in
One dwelling) in April-May 1991 during personal meetings and/or telephone conversations. (Exhibit E)

1992 HBO writers, Marta Kauffman, David Crane and Kevin Bright pitched a show to Warren Littlefield
(former NBC president) called “Six of One” they later renamed GIRLFRIENDS. (EXHIBIT W, pg2)

Warren Hutcherson Consulted I“ season on LIVING SINGLE 1993-1998 and Warner Bros Exec.1997.
1991 Ms. Handel (HBO) asked Plaintiff what an “ideal first season” of GIRLFRIENDS might look like.

Karen Handel (HBO exec) and Shelly Raskov (Warner Bros.) subsequently received a pilot script on
spec entitled SASHA SAYS from Plaintiff w/ season summary outline in August 1991. (Exhibit F)

JAMIE TARSES (former vice president of comedy development, NBC) says “the six friends was a
concept that was around” In industry terms it means the show was pitched and circulating amongst
Producers”. (I had mistakenly used the word concept in the copyright registration instead of Treatment
which it was and the reason it received © registration.) (Exhibit W, pg 2, & A).

GIRLFRIENDS © 1991 Treatment was those six urban characters concept on the one page mostly
living in one urban building. See LIVING SINGLE and FRIENDS. (EXHIBIT E, pg 1)

GIRLFRIENDS © 1991 show summary states: The main characters are spunky fresh young Afro-
American women of the nineties. The three met in college (N.Y.U.) where they studied film and theatre.
They reunited a few years later under one roof in a Brooklyn brownstone.

Coincidentally (or not), FRIENDS writers /producers plan a “REUNION” May 2023 on HBOMax.
In GIRLFRIENDS ©1991 verbal pitch Monique moved from Los Angeles to Brooklyn to join friends.
Kelsey Grammer’s GIRLFRIENDS girls met in school, live in L.A., and often gathered at Joan’s.

LIVING SINGLE characters met in college - Howard University; most of the girls (except Maxine) live
together in Khadijah’s Brooklyn Brownstone

GIRLFRIENDS © 1991 was an ensemble anchored by Erika (writer) and Monique a maternal (EX. E
pg 1) “mother hen” character like Khadijah in LIVING SINGLE; Monica in FRIENDS (Ex O pg. 3);
Carrie in SEX and the CITY, and Joan in Kelsey Grammer’s GIRLFRIENDS (Ex. Q pg 2)

FRIENDS the characters live across the hall from each other in a NYC building/brownstone. Ross works
at NYU. Characters gather at (maternal) Monica’s to eat and chat. Joey later moves to Brooklyn.

SEX and the CITY characters all live in NYC. Often gather to meet Carrie to chat over brunch.

GIRLFRIENDS © 1991 Monique; FRIENDS Monica; SEX and the CITY Miranda; LIVING
SINGLE Maxine

Defendants combined our characteristics (strong- independent yet maternal) with our on-page characters
as Hollywood often type casts women and had difficulty dealing with real women with depth in 1991.

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Plaintiff’s 1991 black female Harvard entertainment attorney advised with GIRLFRIENDS © 1991
(when Plaintiff could afford the retainer fee) AND Plaintiff often inserted advised comments in dialogue.

Defendants “coincidently” include attorney Maxine in LIVING SINGLE; attorney Miranda on SEX
and the CITY, and attorney Joan in Kelsey Grammer’s GIRLFRIENDS.

Defendants have a HISTORY OF RACISM as displayed in use of racist term “Oreo Cookie” (Marta
Kauffman, director, and Littlefield chuckle over the specific OREO cookie scene) (EXHIBIT W pg. 10)

FRIENDS season 1, disc 1 episode 5 “The One with the Butt” - Ross and Rachel split an “Oreo Cookie”

Marta Kauffman says, “Ross fucked up” EXHIBIT W(a) referring to David Schwimmer’s infamous
comments on FRIENDS “Jack of diversity’ EXHIBIT W(b) and he how (he specifically) dated an
African -American and Asian American woman on the show. After decades, studio thieves were not
sure if I Pro Se Plaintiff (LeTica Lee) was black or Asian from viewing the Work in the archives.

Writers, Director, Actors, and Studio Execs (Defendants) appear to be aware of Original GIRLFRIENDS
© 1991 Treatment, Characters, Pilot Script, etc. as they often reference Plaintiff by description only.

Plaintiff started this writing project as three black women, but Lee and Moore wrote, submitted,
registered: GIRLFRIENDS © 1991 Treatment, Character List, First Season Outline, and Pilot Script.

The original pitch for GIRLFRIENDS © 1991 was for three women (TERRI, MONIQUE and ERIKA)
and three men (BOBBI, ROBERT, and TONY) (in print and verbal pitch at meetings).

After writing SASHA SAYS pilot script, the writers submitted the CHARACTERS in WRITING as four
women (TERRI, MONIQUE, ERIKA, and SASHA) and two men (BOBBI and ROBERT).

LIVING SINGLE, SEX and the CITY, GIRLFRIENDS, GIRLS use the four women as WRITTEN.
FRIENDS used original pitched to HBO’s Karen Handel as three women and three men.

HBO again used GIRLFRIENDS Treatment/Characters to produce GIRLS 2012-2017 (Exhibit R, Z3)
THE STRIKING SIMILARITIES:

GIRLFRIENDS © 1991- plot script, SASHA SAYS: Terri’s friends lament over her edited “SOAP
OPERA acting debut” as she appears only when credits roll over the back of her head.

FRIENDS Season 1, episode: The One with the Butt appears at end of Disc 1 but is really the pilot
(first) episode described as “Joey finally gets a film role as a stand in for Al Pacino’s butt.” The episode
opens with ensemble watching their favorite SOAP OPERA.

GIRLFRIENDS © 1991 SASHA SAYS pilot script, Terri is star struck over her favorite soap opera star,
the handsome Dr Jacobs. (EXH. F pg 21)

FRIENDS Joey lands ongoing role of sexy soap opera star Dr. Ramoray (Season 2 — EXH. O pg. 6)
GIRLFRIENDS © 1991 episode “In the Red” Monique loans Terri money she cannot pay back.

LIVING SINGLE Season 1 episode 1 “In the Black is Beautiful” Maxine loans Khadijah money she
cannot pay back.

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GIRLFRIENDS © 1991- the girls gay next door neighbor BOBBI uses ice cream as a metaphor to
celebrate and/or lament various events or moods with the girls (EXHIBIT E pg. 1) to cheer them up.

FRIENDS season 1, disc 1 episode 5 The One with the Butt” uses several “ice cream” references. i.e.
Monica tells Rachel to eat lots of ice cream when she recovers her engagement ring.

LIVING SINGLE season 1, episode, “In the Black is Beautiful” the girls recover over “a large bowl” of
ice cream yet it appears the scene was “re-edited” to say “milk-shake.”

LIVING SINGLE season | episode, “Judging by the Cover” Regine introduces Brad to the girls as “my
GIRLFRIENDS.”

GIRLFRIENDS © 1991- episode SASHA SAYS, Monique and Erika overwhelmed by Terri’s wacky
crystals and spiritual guide/ tarot reader who she often quotes as “Sasha says”.

FRIENDS season 1, disc 1 episode 5 The One with the Butt” spiritual and wacky character, Phoebe
attempts to “clean Ross’ aura”.

SEX and the CITY season | Charlotte sees a fortune teller.

Compare BOBBI in GIRLFRIENDS © 1991 - SEX and the CITY - Stanford Blatch is Carrie’s BFF
and confidant aside from the girls. (EXHIBIT P1 pg 3; EXHIBIT E pg.1)

GIRLFRIENDS © 1991 “Personal Ads” — Erika having a dry spell meets a man via a personal ad who
seems too good to be true — has a minor flaw — he’s stealing her work.

GIRLFRIENDS (Season | episode: Hip-ocracy) Joan having a dry spell meets a man on a dating internet
site who seems too good to be true, has a minor flaw - his hips are too big.

OBSERVE very similar DVD covers of first season LIVING SINGLE (1993-1998), FRIENDS (1994-
2004), SEX and the CITY (1998-2004), GIRLFRIENDS (2000-2008), GIRLS (2012-2017) (Ex. Z5 + R)

GIRLFRIENDS © 1991 MONIQUE and ERIKA were based on my life as an Independent Producer and
Writer. Those characters and my personal ‘life notes’ became Carrie (writer on Sex and the City), Maxine
(attorney on Living Single), Kadijah (Indie magazine Editor and Publisher) Monica (‘the mother hen”
character on Friends), Miranda (attorney Sex and the City) and Joan (attorney on Girlfriends). Maya
(writer and Joan’s assistant Kelsey Grammer’s Girlfriends version).

I, Pro Se Plaintiff, had just returned from trip abroad using my first “real money” and often mixed urban
streetwear from London, Paris, and Florence with vintage clothes from secondhand shops on the upper
east side which perplexed LA Producers but became, writer, Carrie of Sex and the City (HBO).

GIRLFRIENDS © 1991 - We named the character ERIKA after a friend of ours ERIKA ALEXANDER
who was (ironically) cast in LIVING SINGLE (attorney Maxine).

GIRLFRIENDS © 1991 flaky actress TERRI (aspiring actress based on a young naive version of Tracey
Moore before she became a casting agent and celeb acting coach); JOEY (aspiring actor and PHOEBE
on FRIENDS.); SINCLAIR on LIVING SINGLE; free spirit LYNN on GIRLFRIENDS.

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Season 1 on FRIENDS Jocy lands a movie role as a stand in for Al Pacino’s butt. AND eventually lands
a recurring role as Dr. Drake Ramoray on Days of Our Lives (EXHIBIT O pg. 6) is strikingly similar to
Terri’s “debut” on her fave soap opera in our pilot episode showing only the back of her head. (Exhibit F
pg 20) and has feelings for the star, Dr. Jacobs.

GIRLFRIENDS © 1991 TERRI is a somewhat irresponsible receptionist at a talent agency.
GIRLFRIENDS (Grammer'’s version) Maya is Joan’s often distracted receptionist/personal assistant.
LIVING SINGLE - Sinclair plays Khadijah’s distracted and somewhat flaky receptionist.

FRIENDS ~ Phoebe is a spiritual but comes off flakey and distracted.

Plaintiff's ex-fiancé at the time was named TONY (Jazz musician lived in Europe and Brooklyn)

We named GIRLFRIENDS show character Monique’s producer boyfriend, TONY.

I, Pro Se Plaintiff, in an interracial relationship at the time and conflicted about marrying my much older
short in stature white yet loving Italian Jazz musician boyfriend/fiancé, TONY.

TONI in Kelsey Grammer’s version of GIRLFRIENDS is Joan’s black female best friend from college
who is engaged to a short white Italian doctor with whom she is in love yet conflicted about marrying.

FRIENDS pilot episode (appear fourth on DVD first season) “The One with the Butt” Rachel leaves
her dentist fiancé at the alter and for somewhat superficial reasons.

FRIENDS character, Monica dates much older man (Tom Selleck) in later episodes.

SEX and the CITY, Carrie dates older, MR BIG a businessman and “jazz aficionado” (Ex. P1 pg 3)
Plaintiff Registered GIRLFRIENDS Treatment with the U.S. Copyright Office in 1991

Plaintiff Registered GIRLFRIENDS Treatment with Writers Guild of America, East (WGA) in 1991
Plaintiff Registered GIRLFRIENDS Pilot Script SASHA SAYS with the U.S. Copyright Office in 1991
Plaintiff Registered GIRLFRIENDS Pilot Script SASHA SAYS with WGA, East in 1991

Pilot Script SASHA SAY appears to have “gone missing” from the U.S. COPYRIGHT OFFICE per
Defendants somewhere between Plaintiff's filing in 1991 and submitting it to Defendants in 2021.

Plaintiff met with Warren Hutcherson April 1991 (former Brooklyn neighbor, and comedic writer turned
Warner Bros Executive 1997), Karen Handel (HBO executive) May of 1991, and spoke to Lucy Fischer
and Shelly Raskov (Warner Bros executives) between February 1991 and August 1991 while Plaintiff did
preliminary research for Spike Lee’s biopic, MALCOMLM X as an Independent Contractor early 1991.

All parties stated verbally GIRLFRIENDS © 1991 was “under consideration”. Plaintiffs name, address,
phone number, Copyright and Writers Guild, East registration information was on the treatment and
correspondences if the Defendants were interested in furthering development or licensing of said Work.

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Written Works “under consideration” are usually “archived” until such time the right parties (Producers,
Director, Actors etc.) come into place. Therefore, all associated materials (personal notes, treatment,
character list, outline of first season, and pilot script) likely went into the HBO and Warner Bros.
Television archives until approved for production (green/ight) but Plaintiff still was not contacted.

Aside from multiple personal life, relationships, career experiences, treatment, characters and season
outline provided, the most developed material GIRLFRIENDS submitted was the pilot script, SASHA
SAYS. (EXHIBIT B) Plaintiff gave Defendants just enough to see the big picture; apparently, they did.

Fashion, film, music and New York City were the invisible characters in our lives most people noticed as
we were somewhat eccentric in our attire and often worked on Music Videos on the side to help black
artists who were rarely given proper budgets from their record labels.

The fact that we were intelligent, compassionate, and somewhat business savvy caught most new
acquaintances (especially white people) by surprise as most people saw us as somewhat attractive, not
very smart yet very funny. I hope this civil action case brings that to a close.

AND personal notes Plaintiff shared in good faith with Defendants about being a 24 yr old aspirational
heterosexual urban female in NYC balancing career, dating, relationships and just growing up.

Plaintiff, often likened to a “mother hen”, lived in a Brooklyn loft (which she herself paid for) and later
a house in Brooklyn around the corner from their favorite café, Mike’s, where her close friends and
family congregated to dine, share stories, exchange advice and laugh about the complexity of being social
influencers in their twenties yet not always feeling like a grown up.

GIRLFRIENDS © 1991 characters living in one building was to help us Produce the project affordably
as Black Producers are rarely given enough money to develop, market, and advertise their Works.

Plaintiff was a 24 yr old single black female and rising Indie Producer living in Brooklyn, NY in 1991

Like CARRIE (writer in SEX and the CITY) Plaintiff often journaled her experiences and thus discovered
notes, dates, places, and people she met to pitch GIRLFRIENDS ©1991.

Like MIRANDA. (attorney SEX and the CITY), MAXINE (attorney on LIVING SINGLE) and JOAN
(attorney GIRLFRIENDS) Plaintiff often had to fight to get paid as a clean cut aspirational black
female Independent Contractor (Producer) and/or receive onscreen credit for her completed work.

Plaintiff learned early the importance of leaving a paper trail as many Hollywood Industry
“professionals” often proved to be untrustworthy when it came time to pay or credit Black Artists
and Producers as myself for reasons mentioned herein (see Amended Summons and Complaint).

I took the leap of faith in 2021 and filed as a Pro Se Plaintiff.

Defendants were notified multiple times in 2021 of these true and legitimate claims with intention to
file suit with no response. (see Exhibit G, H J, J1, K, M).

Plaintiff eventually filed an Amended Summons and Complaint at the Ontario County Clerk’s Office in
Canandaigua, NY on November 16, 2022, as a Poor Person. (EXHIBIT L)

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AND Defendants were properly served Amended Summons and Complaint by process servers which
was a great financial hardship for me with no income and using a limited high interest rate credit card.

AND Affidavit of Services were filed at Ontario County Clerk’s Office on January 11, 2023, and Proof
of Service was sent to Defendants and filed according to NYS CPLR 311 and CPLR 306.

AND Defendants still failed to respond to Plaintiff within 20 days of service in New York State and 30
days and outside of NYS.

WARNER MEDIA LLC served on December 13, 2022 via Registered Agent in New York expired
January 2, 2023 (Exhibit M)

HBO HOME ENTERTAINMENT, INC. served on December 13, 2022 via Registered Agent in New
York expired January 2, 2023 (Exhibit M)

WARNER BROS. WORLDWIDE TELEVISION DISTRIBUTION, INC. served on December 13, 2022
via Registered Agent in New York expired January 2, 2023 (Exhibit M)

NBC UNIVERSAL TELEVISION STUDIO DIGITAL DEVELOPMENT LLC; served December 13,
2022 via Registered Agent in New York expired January 2, 2023 (Exhibit M)

CBS BROADCASTING INC. served December 12, 2022 via Registered Agent in New York expired
January 1, 2023 (Exhibit M)

GRAMMNET NH PRODUCTIONS served December 14, 2022 via Registered Agent in California
expired January 13, 2023 (Exhibit M)

AND Defendants were unable to respond to extension date of February 2, 2023 provided by Hon. Judge
Craig Doran and withdrew their request.

AND Defendant’s Attorney moved case to Federal Court Western District at which time Hon. Judge
Marian Payson also granted an additional extension to March 6, 2023, to respond to Pro Se Plaintiff
(although they had 2 years to prepare a response) and failed to do so with Pro Se Plaintiff receiving a
partial response on March 7, 2023

AND Hon. Frank P. Geraci, Jr. provided Pro Se Plaintiff response to Defendant’s motion by April 6,
2023 implying but not stating mediation /arbitration.

AND Hon. Frank P. Geraci, Jr. provided yet an additional extension response date of approximately
April 21, 2023 FOR Defendants to respond. (two weeks after Plaintiff submitted response)

WHEREBY an unfair bias towards wealthy Defendants and their legal representation seems present.

Plaintiff filed for genuine career, emotional and punitive damages caused by continuous copyright
infringements including the blatant discriminatory practices by Defendants for my race, age, and gender.

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While I have detailed my claims multiple times as well as in the Amended Summons and Complaint
filed at the Ontario County Clerk’s Office in Canandaigua, NY on November 16, 2022, which
Defendant’s attorney removed and submitted to Federal Court January 2023 after failing to respond
(defaulted), I hereby believe it necessary to state the following:

The film, television, and music (a.k.a. entertainment) industries have consistently exploited black talent
and women for decades and continues to do so per my Amended Summons and Complaint.

Not only did the Defendants use my written material and notes from our meetings and conversations
shared in good faith, but they also used and profited from my likeness though often making me white to
fit their racist point of view imposed on their more intelligent viewers (the court of public opinion).

The Defendants “Knowingly Induced” Copyright Infringements which took me 30 years to untangle.
BACKGROUND:

I, Pro Se Plaintiff — a young gifted and talented black woman only twenty-four years of age in 1991
who had just returned from a personal self-gifted month-long trip to London, England; Paris, France and
Florence Italy wearing urban street wear from abroad and a speech which most associated as a Jewish or
white girl from Brooklyn through telephone conversations and perplexed Defendants at live meetings.

I was actually raised in a Jewish suburb in Upstate New York (Brighton, New York) with reasonable
intelligence and graduated from high school one year early.

My parents were hard working people who had to grit and bear great insufferable discrimination on their
daily nine to five jobs in order to put food on the table, clothe, house and send my brother, sister and I to
an integrated college preparatory public school and attain first generation college status for each of us.

Though a child in the 1970s and 1980’s, my siblings and I had the odd habit of watching and laughing at
old black and white comedies from the 1940s to offset a tumultuous upbringing.

Therefore, in 1991, I Pro Se Plaintiff, believed myself to be reasonably intelligent, gifted, and talented at
the time with great promise, when I shared personal experiences, notes, and original written treatments,
episodes, and scripts in good faith with Defendants. (see Amended Summons and Complaint)

Plaintiff was repeatedly told no one would believe these stories were from middle class heterosexual
black women as at the time The Cosby Show had been the only middle-class talent seen and aired on
prime time. Even so many Hollywood Producers in Los Angeles, California believed it to be only fiction.

My likeness became Kadijah (Indie Publisher) and Maxine (attorney) on LIVING SINGLE
My likeness became Monica and Rachel on FRIENDS

My likeness became Carrie (writer) and Miranda (attorney) on SEX and the CITY

My likeness became Joan black female attorney on GIRLFRIENDS.

AND my Work was ripped off by Defendants like the hit song “Whole Lotta Love” by Led
Zepplin — Originally called “You Need Love” by Willie Dixon and Muddy Waters.

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AND like child prodigy turned Cotton Club Jazz singer, Esther “Baby” Jones whose image and likeness
was replicated into the iconic BETTY BOOP of the 1920’s; mis-claimed by Helen Kane. (Exhibit S)

AND the song “The Lion Sleeps Tonight” stolen from a South African artist but repacked into
the iconic song made popular in the blockbuster animation film, The Lion King. (Exhibit V1)

AND like Big Mama Thornton’s “Hound Dog” © 1952 used by infringer by Elvis Pressley

AND like Henrietta Lacks who went into John Hopkins Hospital for assistance with a tumor in her
cervix in 1951, and her HaCells were removed, studied, and replicated from her essence and used to
develop drugs that would help patients worldwide. (see Lacks v. Thermo Fisher Scientific In. (1:21-cv-
02524 pending District Court Baltimore Maryland ), without her knowledge or consent. (Exhibit T)

AND the numerous other black artists, writers, producers whose works were stolen and placed
into the hands of white artists while they remain broke, nameless, and many deceased and
forgotten from history. (Ex. U, V)

The media industry has historically stolen and repackaged works created by talented artists of
color and invests in the development and mass marketing of white artists.

Black people have been historically used for their talents yet failed to be respected by Crediting
and Compensating their Works. This dishonorable practice must stop.

It has been very difficult for Black Artists and Producers to PROFIT from their own Original Works with
or without proper artist or legal representation.

In 2021, the Black Lives Matter and the Me Too Movements inspired me to speak up. My Talent was
being assaulted. My Color and Gender was being disrespected.

The Defendants were profiting from my Labors. This deeply affected by quality of life.

SEX and the CITY grossed nearly $2 BILLION in box office movie sales and that does not include
television, syndication, streaming, DVD sales, and merchandise.

FRIENDS, generates over $1 BILLION annually (and has for 30+ years) for Warner Bros. and pays
the FRIENDS franchise ACTORS a collective sum of $20 million per year. (Exhibit W2, W3, W4)

LIVING SINGLE and GIRLFRIENDS are also still in syndication worldwide.

Since the beginning, the named Defendants have repeatedly shown a lack of integrity.

In January 2023, I received a call from an unidentifiable phone number starting with area code (202)

It was neither from New York nor California (where Defendants served) but a Washington DC number.
Without confirmation of identity, I requested Caller correspond in writing (on company letterhead).

I then blocked any further calls from said unidentified possible Google number (202) 510-5204 and
therefore did not receive any text messages as stated by Defendants’ attorney.

AND Defendant’s attorney states that Copyright for GIRLFRIENDS Pilot Script has “gone missing from
the U.S. Copyright Office”.

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AND the Ontario County Head Clerk, Matthew Hoose, mysteriously died Feb 21, 2023 during process.
AND Ontario County did not notify me to confirm removal of case from Supreme Court to Federal Court

THEREFORE, on all the aforementioned reasons including the multiple submission of claims, proof of
Copyright Ownership, Writers Guild of America East dated registration, first season DVD likeness of all
four sitcoms, industry media Articles and the testimonies of the “court of public opinion” (see Exhibit
X, Y, Z, Z1,Z2,23,Z4,Z5)

Plaintiff REJECTS any case DISMISSAL or further extensions based on these true and just claims and
that within the November 16, 2022 Amended Summons and Complaint.

AND I, Pro Se Plaintiff, after having waited to receive a response after meeting Defendants in 1991 with
no response given AND then observing multiple sitcoms derived from those meetings and Work:
LIVING SINGLE, FRIENDS, SEX and the CITY, GIRLFRIENDS and GIRLS which all appear to
be taken from GIRLFRIENDS © 1991 subsequently ripped off and used to produce, and distribute
knock off versions repeatedly, and profiting Defendants billions dollars for over 30 years from content
Plaintiff shared in good faith which Defendants archived and used thereafter AND upon stating my
claim in detail multiple times,

AND Defendants repeatedly defaulted multiple times (Fed. R. Civ. P. 55(b)(2)

THEREFORE, I, LeTicia Lee, filed as a Pro Se Plaintiff to obtain long overdue reparations not just for
myself, but in honor of all artists, producers, inventors, content creators, and businesspeople of color
whose works were stolen and used without recognition or compensation since the beginning of time.

I pray this Civil Action Case changes the industry trajectory from thievery to true and honest respect for
genuine talent and helping those who create notable works to receive the proper funding, marketing,
advertising, and distribution their Works merit for the ultimate betterment of society at large.

May the world audience no longer suffer through countless Hollywood re-boots of stolen works.

PLAINTIFF fervently requests Court to GRANT Summary Judgment in favor of Plaintiff for
long overdue reparations as detailed in the Amended Summons and Complaint.

May the Court review this matter based on the submitted material evidence (no appearance required) at a
date and time the Court deems best. Please take note that Plaintiff intends to serve a reply. Thank you.

Dated & Signed, Ly / Uy VOLS es pccuy Submitted by,
~ f
J

~ * MK LL f / |
yf Le a ~Y AC LeTicia Lee t 1625
TI ULL VC OV Pro Se Plaintiff
Notary Public 1335 Jefferson Road #20711
Rochester, New York 14602 USA

 

All those gathered here will know that it is not by sword or spear that the LORD saves; for the battle is the LORD’s, and he will give all of you into
our hands. Samuel 17:47

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Page 10 of 10 a Public state f New York
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

-X Case # 6:23-cv-06025-FPG-MWP

 

In the Matter of the Petition of

LETICIA LEE,
Index No.: 134539-2022
Removed by Defendant
from Supreme Court
Ontario County, New York
Plaintiff,
-against-

WARNER MEDIA LLC (HBO HOME ENTERTAINMENT, INC.; WARNER BROS.
WORLDWIDE TELEVISION DISTRIBUTION, INC.); NBC UNIVERSAL TELEVISION
STUDIO DIGITAL DEVELOPMENT LLC; CBS BROADCASTING INC.; GRAMMNET NH
PRODUCTIONS

Defendants,

 

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S .
MOTION FOR SUMMARY JUDGMENT

Executed on April A, 2023 LeTicia Lee

Rochester, New York 14602 Pro Se Plaintiff
1335 Jefferson Rd. #20711
Rochester, New York 14602

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

X Case # 6:23-cv-06025-FPG-MWP

 

In the Matter of the Petition of

LETICIA LEE,
Index No.: 134539-2022
Removed by Defendant
from Supreme Court
Ontario County, New York
Plaintiff,
-against-

WARNER MEDIA LLC (HBO HOME ENTERTAINMENT, INC.; WARNER BROS.
WORLDWIDE TELEVISION DISTRIBUTION, INC.); NBC UNIVERSAL TELEVISION
STUDIO DIGITAL DEVELOPMENT LLC; CBS BROADCASTING INC.; GRAMMNET NH
PRODUCTIONS

Defendants,

 

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MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT

I, Pro Se Plaintiff, LeTicia Lee, a mature living woman of great faith in her God, a writer, and
former NYC Indie producer (NOT an attorney) respectfully submits this memorandum of law in
support of its Motion for an Order to GRANT Plaintiff's Summary Judgment on the cause of
action (career and emotional damages, and financial hardship caused by continuous
copyright infringements knowingly induced by Defendants using the Inverse Ratio Rule).

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Defendants had access to Plaintiff’s Intellectual Property GIRLFRIENDS © 1991 when LIVING
SINGLES was created 1993 via Warner Bros TV archives via Shelly Raskov.

Defendants had access to Plaintiff’s Intellectual Property GIRLFRIENDS © 1991 at HBO via former
HBO talent executive, Karen Handel.

Defendants had access to Plaintiff’s Intellectual Property GIRLFRIENDS © 1991 via former friend,
neighbor, comedy Warren Hutcherson who became Warner Bros. Executive Producer 1997-1999.

Defendants had access to Plaintiff’s Intellectual Property GIRLFRIENDS © 1991 via HBO archives
where Marta Kauffman, David Crane and Kevin Bright worked 1990-1996.

PRELIMINARY STATEMENT

Defendants had access to GIRLFRIENDS © 1991 and SASHA SAYS © 1991 which appears to have
been archived at both Warner Bros. Television and HBO Entertainment.

FRIENDS “creators/writers” Marta Kauffman, David Crane and Kevin Bright had access to
GIRLFRIENDS © 1991 while working at HBO 1990-1996. (Exhibit I)

Defendants appear to have knowingly induced copyright infringements on GIRLFRIENDS © 1991 and
SASHA SAYS © 1991 to develop, produce, and distribute LIVING SINGLE (1993-1998), FRIENDS
(1994-2004), SEX and the CITY (1998-2004), GIRLFRIENDS (2000-2008) and GIRLS (2012-2017) for
HBO for profit.

ARGUMENT
SUMMARY JUDGMENT SHOULD BE AWARDED IN FAVOR OF PLAINTIFF
A. ALegal Standard

It is well settled that the Summary Judgement should be GRANTED to the Plaintiff where
there is no dispute the true conversations and meetings with Warren Hutchinson, Karen Handel,
Lucy Fisher, and Shelly Raskov that took place in 1991.

'

AND the conversations and meetings involved the transference of personal information, a written
treatment, character list, outline of first season, and a pilot script of the proposed sitcom
GIRLFRIENDS © 1991 was made by Plaintiff to Defendants as detailed in the Amended
Summons and Complaint

AND Plaintiff owns the rights to GIRLFRIENDS © 1991 & SASHA SAYS © 1991,

AND sitcoms LIVING SINGLE (1993-1998), FRIENDS (1994-2004), SEX and the CITY (1998-
2004), GIRLFRIENDS (2000-2008) and GIRLS 2012-2017 for HBO) all have a striking
resemblance to characters, story plot outlines, show title and scenes to GIRLFRIENDS © 1991.

AND it appears that the Defendants intentionally circumvented Plaintiff and her property rights
to knowingly induce copyright infringement from which they profited immensely.

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AND Defendants have a history of discriminatory practices .
AND Plaintiff exercises her right to recover based on Civil Rights 42 U.S. Code 1981(a)1
AND Plaintiff has the right to recover punitive damages Civil Rights 42 U.S. Code 1981(b)1

AND Plaintiff was not contacted, acknowledged, or compensated by Defendants despite them
knowing the Work was noticeably registered at the U.S. Copyright Office and Writers Guild, East.

AND there are obvious and strikingly similarities between all four sitcoms and GIRLFRIENDS
- as seen on the cover art of the DVD’s and 1‘ season. (EXHIBIT Z5; + Exhibit R)

AND the “Court of Public Opinion” has unofficially testified to the striking similarities for
years. (see EXHBITS W1, X, Y, Z, Z1, Z2, Z3,Z4,Z5)

AND the Plaintiff has had to WATCH these shows televised on air, advertised, and streamed
without on-screen credit for which she could have furthered her career NOR did she receive any
form of financial compensation for thirty plus years.

AND the intentional slight affected her self-esteem, and self-worth of Plaintiff.

AND this intentional oversight has caused tremendous career and emotional damages to Plaintiff
over the three decades.

AND Plaintiff asked multiple entertainment attorneys for help who repeatedly said this case
posed a “conflict of interest” for them as Defendants provide substantial income for their firms.

AND Plaintiff experienced years of financial hardship and homelessness since 1991
AND Plaintiff miraculously maintains her Intellectual Properties and her faith in God.

AND Plaintiff PRAYED for God’s help in this matter to recover her dignity, gifts, talents, and
to move on with her life and thrive and contribute to society again.

AND she was inspired by a stranger in 2021 to file as a Pro Se Plaintiff and did so.
AND Defendants were notified 3x in 2021 of Plaintiff’s claims and intention to file suit.
AND Plaintiff properly served Defendants in December 2022. (Exhibit M)

AND Defendants clearly DEFAULTED Fed. R. Civ. P. 55(c).

AND the Defendants were given three extensions February 2, 2023; March 6, 2023; and now two
weeks to respond to this MOTION after submission.

AND like a bad Hollywood movie, the Chief County Clerk, Matthew Hoose of Ontario County
New York mysteriously died February 2023 during this due process. (EXHIBIT L1)

AND the Defendant’s Attorney states that the registered copyright for GIRLFRIEND’S pilot
script, SASHA SAYS © 1991 is “missing” from the U.S. Copyright Office.

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B. Plaintiff is Entitled to Summary Judgment as a Matter of Law

Plaintiff noticed LIVING SINGLE 1993-1998 was strikingly similar to the show GIRLFRIENDS ©
1991 she pitched in Hollywood two years prior. (EXHIBIT N + 1stSeason DVD Episode “In the
Black is Beautiful and GIRLFRIENDS outline episode “In the Red’)

Plaintiff was not able to connect how her Intellectual Property GIRLFRIENDS © 1991 went from her
to Alan Kelsey Grammer, GIRLFRIENDS (2000-2008), whom she never met.

Plaintiff spoke to Tracey Moore in 2020-2021 and learns the “court of public opinion” had
recognized several similarities of L'VING SINGLE and FRIENDS as well as between
GIRLFRIENDS and SEX and the CITY all derived from GIRLFRIENDS © 1991.

JET Magazine retracted crediting Martha Brock Ali as Creator of GIRLFRIENDS (Ex. Y)

Entertainment Weekly references Sarah Jessica Parker (who plays Carrie on SEX and the CITY) in
article announcing GIRLFRIENDS (EXHIBIT X) noticing striking resemblance.

The striking similarities of LIVING SINGLE (1993-1998), FRIENDS (1994-2004), SEX and the
CITY (1998-2004), and GIRLFRIENDS (2000-2008) and even GIRLS (2012-2017) based on Works
provided to Defendants by Plaintiff (and archived) back in 1991 proves they had access to the
Original Material in question GIRLFRIENDS © 1991.

AND the production order shows the attempt to confuse the Plaintiff and deceive the general
public. (Wilson v. The Walt Disney Company, 2015; Petrella v. Metro- Goldwyn-Mayer, Inc et al
2014) (Ex. W, 1W,2W, W1,Z5,R, X Y Z)

THEREFORE, Defendants knowingly induced copyright infringements in the making of each of the
above-mentioned shows attempting to deceive the general public and the Original Writers from
claiming ownership, on-screen credit and financial compensation.

C. Plaintiff Entitled to Summary Judgment REJECTING Defendant’s Motion to Dismiss

Plaintiff became aware of multiple sitcom series infringements end of 2020 and beginning of 2021
and discovered old Copyright Registrations and notes from Meetings and talks with HBO and Warner
Bros.in her storage boxes. (Starz Entertainment, LLC v. MGM Domestic Television Distribution
LLC., No. 21-55379 (9" Cir. 2022)

Plaintiff notified Defendants in June 2021, August 2021, and December 2021. (EX. G, H)
Plaintiff properly served Amended Summons and Complaint December 2022. (EX. M)
Defendant DEFAULTED and had case REMOVED from Supreme Court to buy time.

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CONCLUSION

Based on the foregoing, Plaintiff requests the Court to enter an Order GRANTING the following
Summary Judgement in favor of the Plaintiff:

1) Industry Remedy that the entertainment industry compensates Artists, Producers, Content
Creators of Intellectual Property when said studios knowing use their protected Works
regardless of how long Works have been archived.

2) Plaintiff’s contact information was readily available to Defendants via cover letters as well as via
the U.S. Copyright Office and Writers Guild of America, East. After moving, Plaintiff
maintained the same voice mail phone number until approx. 2008. (Ex. A, B, C, D)

3) Financial Compensation for lost career opportunities career caused by the Defendants who
knowingly inducing copyright infringements for over 30 years using the (Inverse Ratio Rule)
while profiting billions of dollars worldwide causing emotional distress and financial hardship.

4) Plaintiff also requests compensatory royalties from worldwide gross revenues derived from
LIVING SINGLE (1993-1998), FRIENDS (1994-2004), SEX and the CITY (1998-2004),
GIRLFRIENDS (2000-2008), GIRLS (2012-2017) currently in syndication plus any and all
reboots, reunions, spin-offs, and/or ancillary markets in perpetuity.

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CLOSING REMARKS

Since 1991 Pro Se Plaintiff has gone from writing about aspirational young women in a search of
purpose, crystals, and tarot cards to inspiring young women through Torah and the Rock of
salvation. The characters in GIRLFRIENDS © 1991 were not yet fully developed.

Therefore, the storylines and characters the Defendants copied were shallow and pointless —
funny for a moment and then what? That was intentional.

Plaintiff hoped to have had the opportunity to tell these stores more in depth with a sense of
humor. Ironically, Kelsey Grammer’s version of GIRLFRIENDS came the closest to the people
we really were in 1991.

Perhaps this will inspire Defendants to use better judgment in the future. They were satisfied with
so little. Yet the Plaintiff was offering so much more at that time.

FRIENDS sitcom Reunion is tentatively scheduled to air on HBOMax May 27, 2023. Plaintiff
hopes to reach a resolution so as not to interrupt productions though reserves the right to do so.

May the Court GRANT the Plaintiff’s Summary Judgement and review this matter based upon all true
and valid submissions (no appearance required) at a near date and time the Court deems best. Thank you.

Re ey f os Submitted by,

Dated: April 2023
Rochester, New York 14602 ke ée Al: 20 8

Pro Se Plaintiff
1335 Jefferson Rd #20711
Rochester, New York 14602 USA

All those gathered here will know that it is not by sword or spear that the LORD saves: for the battle is the LORD’, and he will give all of you into
our hands. ] Samuel 17:47 \

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Notary Public. State of New York
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TABLE OF EXHIBITS - REFERNCES
Copyright Registration Treatment, Character, Season Outline GIRLFRIENDS
Copyright Registration GIRLFRIENDS Pilot Script SASHA SAYS
Writers Guild East Registration GIRLFRIENDS Treatment
Writers Guild East Registration GIRLFRIENDS Pilot Script SASHA SAYS
Treatment, Character, Season Outline GIRLFRIENDS
GIRLFRIENDS Pilot Script SASHA SAYS

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NOTICE of Intention to File Suit to DEFENDANTS (Certified Mail) June 2021 G1,G2,G3,G4

Notic of filing Index # 2021-3189 (sent via Certified Mail) August 2021+Dec 2021 H1,H2,H3

Kauffman, Crane, Bright HBO 199-1996 (Dream On)
CBS and GRAMMNET Confirm Copyright and Treatment Received J uly2021

Defendants’ DWT Attorney Letter Confirming Treatment and Pilot Script Feb 2022

Docket of Index # 2021-3189 Filings Monroe County Rochester, NY

Judge Doyle would request “proof of case’ merit by an attorney” despite PROOF
POOR PERSON APPLICATION filed Ontario County Canandaigua, NY
Ontario County Clerk Matthew Hoose sudden death article

Index #134539-2022 Ontario County Canandaigua, NY + Affidavits Of Service
LIVING SINGLE show and character description Wikipedia.com

FRIENDS show and character description Wikipedia.com

SEX and the CITY show and character description Wikipedia.com (TV & film)
GIRLFRIENDS show and character description Wikipedia.com

GIRLS show and character description Wikipedia.com (Work still used by HBO)
History of Racism & Theft: Esther “baby” Jones — Betty Boop

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History of Racism & Theft: 7 Music Copyright Cases (& Legal Outcome)
History of Racism & Theft: “The Lion Sleeps Tonight” Wikipedia.com
VANITY FAIR With Friends Like These” article May 2012 by Warren Littlefield

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TABLE OF EXHIBITS - REFERNCES Continued

Marie Claire — ‘Friends’ Co-Creator Marta Kauffman on the Reunion, Wa
TVLine Friends David Schwimmer Apologizes for Diversity Comments W_b
USAToday ‘Living Single” star Erika Alexander reacts to David Schwimmer We
Queen Latifah (Khadijah on LIVING SINGLE) interview (online) wi

LATE LATE SHOW with James Gordon show June 21, 2016 (YouTube
https://youtu.be/J3qwRHb616I ) that it was common “industry knowledge” that Warren
Littlefield was seeking a white version of LIVING SINGLE when he “discovered” FRIENDS

USATODAY.com 2/27/2015 “... much money FRIENDS still Earns Today Ww2
ReelRunDown.com March 31, 2022 How Much Does US Sitcom Friends Make? W3
TheThings.com March 13, 2021 The Top Highest Earning Sitcoms in Syndication Ww4

Court of Public Opinion:
Entertainment Weekly implies Sara Jessica Parker STC like GIRLFRIENDS Xx
JET Magazine Nov. 2001 retracts Martha Brock Akil as Creator of GIRLFRIENDS Y
TYiT.com article by Keydra Mann Favorite Aught Show about four women: Z
Girlfriends or Sex in the City?
Tv.avelub.com article by Gwen Ihnat 8/18/201_ Page 3 Living Single and FRIENDS = _Z1
Reddit.com contributor Ladybug December 2022 Girlfriends vs. Sex and the City Z2
Hypable.com article by Alyce Adams June 22, 2012 Girls vs. Sex and the City Z3
34st.com article by Shelby Abayie “How Living Single Was the Blueprint for Friends” Z4
4 DVD Covers submitted by Defendants. Z5
TABLE OF AUTHORITY

Fernandez v. Jagger 2023 1
Petrella v. Metro- Goldwyn-Mayer, Inc et al 2014

Starz Entertainment v. MGM Domestic Television LLC

&h WwW bd

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